                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


SIERRA CLUB, et al.,                                 No. 8:20-cv-03060-DLB
                              Plaintiffs,
       v.
NATIONAL MARINE FISHERIES SERVICE,
et al.,
                              Defendants,
       and

AMERICAN PETROLEUM INSTITUTE, et al.,

                       Intervenor-Defendants.


   JOINT NOTICE AND JOINT MOTION FOR AMENDED SCHEDULING ORDER

       In accordance with the Court’s December 7, 2021, order, see ECF No. 81, Plaintiffs

Sierra Club, Center for Biological Diversity, Friends of the Earth, and Turtle Island Restoration

Network; Federal Defendants National Marine Fisheries Service and Janet Coit in her official

capacity as the Assistant Administrator for National Oceanic and Atmospheric Administration

Fisheries; and Intervenor-Defendants American Petroleum Institute, EnerGeo Alliance, National

Ocean Industries Association, and Chevron U.S.A., Inc. (collectively, “Parties”) submit the

following joint notice. In addition, the Parties jointly move the Court for a scheduling order

amending the notice deadline set forth in the Court’s prior order. Id.

       The Parties previously filed a joint proposed case management schedule on September 2,

2021. See ECF No. 78. In it, the Parties acknowledged that Federal Defendants have filed a

certified administrative record, which Plaintiffs have been diligently reviewing. The Parties

agreed, however, that additional time was needed before the Parties could proceed to summary




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judgment briefing in order for Plaintiffs to complete their review of the relevant documents and

for the Parties to negotiate any disputes regarding the alleged completeness of the administrative

record, and the Court entered an order instructing the Parties to file a notice regarding the status

of those discussions on or before December 3, 2021. See ECF No. 79. On December 3, 2021,

the Parties informed the Court that discussions regarding the administrative record were ongoing

and moved the Court for a scheduling order to update the notice deadline set forth in the Court’s

prior order, see ECF No. 80, and the Court entered an order instructing the Parties to file another

notice regarding the status of those discussions on or before February 4, 2022. See ECF No. 81.

       Since then, the Plaintiffs and Federal Defendants have been involved in a good faith

effort to resolve various issues related to the administrative record in this case and have made

significant progress towards resolving any lingering disputes. However, the Plaintiffs and

Federal Defendants believe that additional time is necessary to continue this dialogue, and that

additional good-faith discussions may resolve or significantly narrow any disputes regarding the

record’s completeness.

       The Parties accordingly propose that on or before March 15, 2022, the Parties shall file a

notice with the Court indicating either 1) that the Parties require additional time to continue their

negotiation; 2) that the Parties are prepared to proceed with summary judgment briefing; or 3)

that, despite a good faith effort by the Parties to resolve any disputes about the administrative

record’s completeness without the Court’s intervention, Plaintiffs will file a motion challenging

the record’s completeness. In the event of motion practice, the Parties will include with the

notice a proposed schedule for briefing the relevant motion.

       WHEREFORE, the Parties respectfully request that this Court enter the above proposed

deadline under L.R. 103.9.a.




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Respectfully submitted this 4th day of February, 2022.

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